UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

THE ESTATE OF KRISTINA ANN FIEBRINK,
by Special Administrator Nathaniel Cade, Jr.;
and ROBERT MARTINEZ, THE ESTATE OF
ANGELICA FIEBRINK and JOSE MARTINEZ JR.,
Civil Action No. 2:18-cv-00832
Plaintiffs,

¥;

ARMOR CORRECTION HEALTH SERVICE, INC,;
VERONICA WALLACE, LPN; BRITENY R. KIRK,
LPN; EVA CAGE, LPN; BRANDON DECKER
APNP; MILWAUKEE COUNTY, a municipal
corporation; LATISHA ATKENS; LATRAIL COLE;
JOHN DOES 1-10; JOHN DOES 11-20 and
WISCONSIN COUNTY MUTUAL INSURANCE
COMPANY,

Defendants.

 

JOINT FINAL PRETRIAL REPORT

 

Plaintiffs, the Estate of Kristina Ann Fiebrink, by Special Administrator Nathaniel Cade,
Jr., Robert Martinez, Jose Martinez Jr. and the Estate of Angelica Fiebrink (“Plaintiffs”),
defendants Armor Correctional Health Service, Inc., Veronica Wallace, LPN, Britney R. Kirk,
LPN, Eva Cage, LPN, Brandon Decker, APNP, Milwaukee County, Latisha Aikens, Latrail
Cole, and Wisconsin County Mutual Insurance Company (“Defendants”), pursuant to this

Court’s Order dated October 5, 2018 (Dit. 51) and Civil LR. 16(c)(1), submit the following

Joint Pretrial Report.

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I. SUMMARY OF THE FACTS, CLAIMS, AND DEFENSES,

On August 24, 2016, Kristina Fiebrink (“Fiebrink”) was brought to the Milwaukee
County Justice Facility (“Jail”), where, during her intake health screening, she reported recent
heroin use. Fiebrink died in her Jail cell and was found on the morning on August 28, 2016.

The Estate of Kristina Fiebrink, (the “Estate”) and her children, Robert Martinez, the
Estate of Angelica Fiebrink, and Jose Martinez Jr. bring claims against: (a) 2 Milwaukee County
Correctional Officers (Latisha Aikens and Latrail Cole); (b) Milwaukee County: (c) 4 Armor
Correctional Health Services employees/agents (Brandon Decker, Veronica Wallace, Britney R.
Kirk and Eva Cage; and Armor Correctional Health Services, Inc., pursuant to 42 U.S.C. § 1983
and Wisconsin State Law. The Plaintiffs assert that the Defendants failed to provide medical
care or access to medical care to Fiebrink in violation of her constitutional rights. Plaintiffs also
claim Armor Correctional Health Services, Inc. and Milwaukee County maintained
unconstitutional policies and practices and failed to properly train it employees. Plaintiffs also
assert state law claims for negligence and wrongful death. Defendants deny liability on the
above cited claims.

I. STATEMENT OF THE ISSUES

1, Did the Defendants violate Fiebrink’s constitutional rights by failing to provide medical
care?
2. Did the Defendants, Milwaukee County and Armor Correctional Health Services, Inc.,

violate Fiebrink’s constitutional rights by maintaining unconstitutional customs or

practice that harmed Fiebrink?

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If the answer to Question 1 or 2 is yes, what amount of compensatory damages, is the
Estate entitled to recover against the Defendants who violated Fiebrink’s constitutional
rights?

If the answer to Question 1 is yes, is the Estate entitled to an award of punitive damages
against the Defendants who failed to provide Fiebrink medical care?

If the answer to Question 4 is yes, what amount of punitive damages is the Estate entitled
to recover?

If the answer to question 1 or 2 is yes, what amounts is Robert Martinez entitled to for the
loss of society and companionship of his mother?!

Were the Defendants negligent while exercising the duties they owed to Fiebrink? If the
answer is yes, was such negligence a cause of injury or death?

If the answer to Question 7 is yes, what amount of compensatory damages, if any, is the
Estate entitled to recover against the Defendants who were negligent?

If the answer to Question no 8 is yes, what amount of compensatory damages is Robert
Martinez, the Estate of Angelica Fiebrink, and Jose Martinez entitled to for the loss of
society and companionship of their mother.”

ll. WITNESSES

ALL PARTIES RESERVE THE RIGHT TO REVISIT, OBJECT AND SUPPLEMENT

ANY WITNESS DESIGNATIONS OR EXHIBITS AFTER THE COURT’S DECISION ON

DISPOSITIVE MOTION BUT BEFORE BEING ADMITTED INTO EVIDENCE.

 

' The parties dispute whether Robert Martinez has a claim for loss of society and companionship pursuant to § 1983.

(Dt. 32; Dkt, 48)
2 The parties reserve the right to revisit and reframe these issues based on future rulings from the Court.

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ae

SUBJECT TO THE COURT’S RULING ON MOTIONS JN LIMINE, PLAINTIFFS
MAY CALL THE FOLLOWING WITNESSES AT TRIAL (ADDITIONALLY PLEASE SEE

ATTACHED EX. A):

1, Brandon Decker, Defendant.

2. Britney Kirk, Defendant.

3. Eva Cage, Defendant.

4, Veronica Wallace, Defendant.

5. Kayla McCullough.

6. Kayla McCullough, as Rule 30(b)(6) representative of Armor Correction Health
Services, Inc,

7. Dr. Thomas Gable.

8. Dr. Thomas Gable, as Rule 30(b)(g) representatives of Armor Correctional Health
Services, Inc.

9, Dr. John May

10. Dr. Karen Ronquillo-Horton, M.D.

11. Mai Bruno, RN.

12. Brooke Shaikh

13. Phebe Williams

14. Correctional Officer Latoya Renfro

15. Correctional Officer Jennifer Matthews

16. Correctional Officer Brian Piasecki

17, Correctional Officer Latrail Cole, Defendant

18. Correctional Officer Latisha Aikens, Defendant

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19, Richard Schmidt

20. Nancy Evans

21. Mai Bruno

22. Detective George Anagnostopoulos

23. Courtney Holifield

24, Dr. Ronald Shansky

25. Any and all witnesses named by other parties.

26. Any and all witnesses necessary for rebuttal.

SUBJECT TO THE COURT’S RULING ON MOTIONS INV LIMINE, DEFENDANTS
MAY CALL THE FOLLOWING WITNESSES AT TRIAL (ADDITIONALLY PLEASE SEE

ATTACHED EX. A):

1, Brandon Decker

2. Kayla McCullough
3. Brooke Shaikh

4. Dr. Thomas Gable
5. Rebecca Goss

6. Dr. John May

7. Dr. Karen Ronquillo-Horton
8. Courtney Holifield
9. Mai Bruno

10. Eva Cage

1]. Britney Kirk

12. Veronica Wallace

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13. Latrail Cole
14. Latisha Aikens

15. Brian Piasecld

16. Jeffrey Andrykowski

17. Officer Stokes

18. Latoya Renfro

19. Tasha Degley - inmate

20. Donna Vibbert - inmate

21. Myrtle Moss - inmate

22. Heather Clements - inmate

23. Detective George Anagnostopoulos

24, Attorney Joseph Thomas Domask

25. Records Custodian - Wheaton Franciscan Healthcare
26. Records Custodian - Milwaukee County — Lieutenant Brian Stadler
27. Any and all witnesses named by other parties

28. Any and all witnesses necessary for rebuttal

IV. EXPERT WITNESSES.

The plaintiffs will call Timothy P. Ryan as an expert witness at trial, Ryan is the Retired
Director of the Miami Dade Corrections and Rehabilitation Department, January 2014. Ryan
previously served as: Chief of the Orange County, Florida, Corrections Department; Chief of
Santa Clara County, California, Department of Corrections and Commander of the Corrections

Division of the Alameda County Sheriff's Office, Oakland, California. Ryan has more than 44

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years of public service, serving the jails of America. Ryan’s educational background includes a
BS in Business for the California State University, Hayward, California, 1976; Graduation from
the 175 FBI National Academy, 1993; and completion of 2001 Senior Executives in Local
Government, Harvard University, JFK School of Government, Cambridge, Massachusetts.
Mr. Ryan will testify consistent with the expert report/opinions he rendered in this case as well
as his declaration and deposition testimony.

The plaintiffs will call Richard Lewan, M.D. as an expert witness at trial. Lewan is
currently a hospitalist independent contractor as well as a licensed medical doctor with Poipu
Mobile Urgent Care, Lewan was previously employed as a medical doctor at the Medical
College of Wisconsin and ProHealth Care, Inc., Waukesha, and served as the Nursing Home
Director of the Kauai Care Center, Waimea, HI. Lewan’s education includes a Bachelor of
Science from Loyola University of Chicago, 1975 and a Medical Degree from the University of
Chicago — Pritzker School of Medicine, 1979. Lewan is Board Certified by the American Board
of Family Medicine. Dr. Lewan will testify consistent with the expert report/opinions he
rendered in this case, his declarations, and consistent with his deposition testimony in this case.

Defendants Armor Correctional Health Care and Brandon Decker will call Colleen Andreoni
as an expert witness at trial. Ms. Andreoni is a licensed advanced practice nurse of fifteen years
and a registered professional nurse for forty-two years. Ms. Andreoni has also taught students
seeking credentials as registered nurses or advanced practicing nurses in undergraduate and
graduate programs, As a board-certified family, adult, and emergency nurse practitioner, at a
minimum, Ms. Andreoni is familiar with and understands nursing standards of care.

Defendants Armor Correctional Health Care and Brandon Decker will call Thomas Fowlkes

MD as an expert witness at trial. At a minimum, Dr. Fowlkes is the Medical Director of the

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Lafayette County Detention Center, medical consultant for the Third Circuit Judicial District
Drug Court, and Deputy Medical Examiner Investigator for Lafayette County, Mississippi. Dr.
Fowlkes is also a board-certified emergency physician, board certified in addition medicine, a
certified correctional healthcare professional, a certified medical review officer for drug/alcohol
testing and has held an unrestricted license to practice medicine in Mississippi since 1993,

Defendants Milwaukee County, Latisha Aikens, Latrail Cole, and Wisconsin County Mutual
Corporation will call Jeffrey S. Carter as an expert witness at trial. Mr. Carter has been involved
in corrections and jail practices since 1999, He holds a Bachelor of Science in Corrections and
Juvenile Services, and has held positions including Correctional Officer, Academy Instructor,
Director of Three Forks Regional Jail, and Captain at Fayette County Detention Center. Mr.
Carter holds specialized training and certifications in a wide range of correctional areas, and his
work experience led him to supervising approximately 377 sworn and non-sworn correctional
staff in the daily operations of a correctional facility.

Defendants Milwaukee County, Latisha Aikens, Latrail Cole, and Wisconsin County
Mutual Corporation will call Jacob Smith, M.D., as a non-retained expert witness at trial. Dr.
Smith is an Assistant Medical Examiner in the Milwaukee County Medical Examiner’s Office.
He holds certifications from the American Board of Pathology in Forensic Pathology and
Anatomic Pathology. He performed the autopsy of Kristina Fiebrink.

Defendants Armor Correctional Health Care, Brandon Decker, Britney Kirk, and Eva
Cage may also call Jacob Smith MD as an expert witness.

Defendants Britney Kirk and Eva Cage will call William R. Gause, MSN, BSN, RN,
ARNP, PHN, CCHP as an expert witness. Mr. Gause is currently employed at West Valley

Detention Center, Central Detention Center, High Desert Detention Center, and Glen Helen

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Rehabilitation Center, in San Bernardino County, California. Mr. Gause was previously
employed as a nurse and supervisor with the San Bernardino Sheriff’s Department.. Mr. Gause’s
education includes a Bachelor of Science Degree in Nursing from California State University in
1988 and a Master of Nursing Science Degree from Loma Linda University School of Nursing in
2000. He is a Certified Correctional Health Professional. Mr. Gause will testify consistently
with the opinions rendered in this case,

Defendants Britney Kirk and Eva Cage will cali Michael W. Kaufman MD as an expert
witness. Dr. Kaufman has been Board Certified in Anatomic Pathology since 1976. He is
currently employed as a pathologist at West Suburban Medical Center and MacNeal Hospital
and Health Network. His past positions include Director of Autopsy Services at Evanston,
Glenbrook, Highland Park, and Skokie Hospitals, Medical Director of the Chicago Area Autopsy
Services, and Medical Director of Northshore Laboratory Services, He has served as an Assistant
Professor of Pathology at Northwestern School of Medicine and the University of Chicago
Pritzker School of Medicine. Dr. Kaufman’s educational background includes a Bachelor of
Science from Wesleyan University in 1967 and Medical Degree from the University of Chicago
— Pritzker School of Medicine in 1972,

Plaintiffs object to the testimony of any experts not previously disclosed.

¥. EXHIBITS.

The Exhibit List (numbered according to Gen. L.R. 26.1) that Plaintiffs may offer at trial
is attached hereto as Exh, A,

1. Medical Records

2. Policies & Procedures, Patient with Special Health Needs

3. CIWA/COWS Withdrawl Screening Flowsheet.

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Policy & Procedures, Milwaukee County Jail, Receiving Screening
Policy & Procedures, Milwaukee County Jail, Initial Health Assessment
Pre-booking Screening

Policy & Procedures, Intoxication and Withdrawal

Investigation Materials

Policies & Procedures, Inmates with Alcohol or other Drug Problems
Nursing Special Needs Communication/Relocation

Management of Alcohol or Drug Withdrawal Risk

Hand Written Notes

Medical Records

Investigation Materials

Autopsy Protocol

Management of Alcohol or Drug Withdrawal Risk

Medical Records

Progress Note

Chart Notes

Unique Issues in Patient Care and Healthcare Liability

Special Needs and Services

Mental Health Intake Screening

Report on Settlement Agreement in the Christensen Case, 10/31-11/4/2016
Memorandum from Richard Schmidt

Report on Settlement Agreement in Christensen Case, 6/16-20/2016

Refusal of Treatment

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27. Intoxication and Withdrawal (detox)

28. Search of Log Entries

29. Jail Records

30. Jail Logs

31. Log Activity System

32. Log Activity System

33, Log Activity System

34, Narrative Report — Renfro

35. Log Activity System

36. Memo Book — Renfro

37. Search of Log Entries by Inmate Name

38. Log Activity System

39. Medical Records — Tasks

40. Restraints

41. Supplementary Report

42. Jail Logs

43. Narrative Supplementary Report — Aikens

44. Treatment of Medical Conditions, Milwaukee County Jail

45. Training Materials

46, Health Care in the Jail Setting: Introduction/Legal Duty of Care

! 47, Responding to Inmate Needs/Requests for Medical of Health Care
48. Jail Log, Aikens Narrative

49, Cole Narrative Report

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Jail Logs
Jail Logs
Intoxication and Withdrawal
Medical Records/Jail Logs
Debriefing
Medical Records/Jail Log
Policy & Procedures, Informed Consent Right to Refuse
Mental Health Intake Screening
Medication Non-Compliance Counseling
Email memo from Nancy Evans to Richard Schmidt August 28, 2016
Milwaukee County Jail Staff Meeting
Refusal of Treatment
National Commission on Correctional Health Care
Task List
Phone Orders
Evans Investigation Material
Email Correspondence 12/09/16
Email Correspondence 09/12/2016/ Memorandum from Nancy Evans to Richard
Schmidt
Milwaukee County Jail Death Reviews — 2016(4) and 2017 (3)
Email Correspondence News Article
Email Correspondence Schmidt to Armor 10/31/16

Email Correspondence Armor to Schmidt, News Article, 11/01/2016

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Email Correspondence News Article

Email Correspondence News Article 12/06/2016

Email Correspondence New Article 12/08/16

Email Correspondence News Article 12/09/16

News Article 4.25.18

News Article 8.9.18

Contract for Inmate Health Services for Milwaukee County
Wisconsin Statutes - Department of Corrections

Richard Schmidt Memorandum 8.1.18

Email Correspondence Armor December 2016

Journal Sentinel Article November 21, 2016

Medical Records

Medical Records Summary

Patient Inmate Health Assessment

Patient Medical History

Anagnostopoulos’ Report

Nursing Timeline

Part of Medical Record

Documents Reviewed by K. McCullough in Preparation for 30(b)(6)
Letter from Shansky to Rusty Perry 10-4-14

Armor Intoxication and Withdrawl Policy and Procedures
Armor Corrective Action Plan PT: Kristina Fiebrink

Inmate Management Meeting Minutes, September 1*, 2016

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95. Nursing Timeline

96. Armor Mortality and Morbidity Review, Typed

97, Armor Mortality and Morbidity Review, Hand written
98. Armor Death Summary Report

99. Contract between Armor and Milwaukee County
100. NCCHC Intoxication and Withdrawal Standard
101. Armor Mortality and Morbidity Review

102. Armor Death Summary Report 12.19.17

103. Armor Death Summary Report 10.27.18

104. Armor Death Summary Report 8.28.17

105. Lewan Curriculum Vitae

106. About Us, UpToDate

107. Opinion of Richard B, Lewan, M.D,

108. Declaration of Richard B. Lewan, M.D.

109. Demographic Report

110. Pre-booking Screening

111. Confidential Death Summary

112. Report of Timothy J. Ryan

113. Report of Timothy J. Ryan

114. Declaration of Timothy J. Ryan

115. Armor Correctional Health Services, Inc. Financials
116. Life Expectancy Chart.

117. Video of Cell Block.

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Document 291
118. Still frames of Video (a-k)
The Plaintiffs reserve the right to offer any of the exhibits listed by the Defendants and to
amend this list based on evidence presented by the Defendants.

The Exhibit List (numbered according to Gen. L.R. 26.1} that Defendants may offer at
trial is attached hereto as Ex, A.

1001, Documents Relating to Detention of Kristina Fiebrink - August 2016
Probable Cause Statement and Judicial Determination [MC KAF000254]
Judgment of Conviction - Milwaukee County Case No. 2015CF001217
Criminal Complaint - Milwaukee County DA Case No. 2016ML019750
Criminal Court Record - Milwaukee County Case No. 2016CM002786
Pretrial Release Conditions Order - Milwaukee County Case No. 2016CM002786
No Contact Order - Milwaukee County Case No. 2016CM002786
1002. Wheaton Franciscan Healthcare Medical Records - August 24, 2016 [SFH 1, 4-5,
7-8, 10, 12, 16, 31, 44, 47-48, 67, 134-135, 139-144, 176, 183-194, 211, 223, 247, 284-
285, 321-352]
1003. Initial Medical Screening forms - August 2016
e Patient - Intake Health Screening - August 24, 2016 [Armor 0075 - Armor 0080]
e Medical Receiving Screening Form - August 24, 2016 [Armor 0365]
1004, Withdrawal Symptom Monitoring
e Patient - CIWA/COWS Withdrawl [sic] Screening Flowsheet - August 24, 2016
[Armor 0135 - Armor 0137]
¢ Patient - Drug and Alcohol Withdrawal Assessment Flowsheet - CIWA-Ar -
March 22, 2015 at 2211 [Armor 0168 - Armor 0170]
e Patient - Drug and Aleohol Withdrawal Assessment Flowsheet - CTWA-Atr -
March 22, 2015 at 1530 [Armor 0171 - Armor 0173]
© Patient - Drug and Alcohol Withdrawal Assessment Flowsheet - CIWA-Ar -
March 21, 2015 at 2254 [Armor 0174 - Armor 0176]
* Patient - Drug and Alcohol Withdrawal Assessment Flowsheet - CIWA-Ar -
March 20, 2015 at 1113 [Armor 0181 - Armor 0183]
e Patient - Drug and Alcohol Withdrawal Assessment Flowsheet - CIWA-Ar -
March 18, 2015 at 0053 [Armor 0200 - Armor 0202]
e Reports - Medication History by Month [Armor 0294 - 0303]
e Patient Medical History [Armor 0022]
1005. Patient Medical History forms
Patient Medical History - August 2016 [Armor 0002]
e Patient Medical History - February - August 2016 [Armor 0004]
e Patient Medical History - 2015 [Armor 0008; Armor 0012; Armor 0014; Armor
0018; Armor 0020; Armor 0022; Armor 0024]
e Patient Medical History - 2014 [Armor 0030; Armor 0032; Armor 0036; Armor
0038; Armor 0040]

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1006.
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Problems [Armor 0041 - Armor 0046]

Vital Signs [Armor 0056 - Armor 0057]

Detox Flow Sheet - 2004-2015 [Armor 0059; Armor 0061]

Mental Health Records

Mental Health - Outpatient Progress Note - April 2015 [Armor 0265 - Armor268]
Mental Health - Initial Evaluation - March 2015 [Armor 0275 - Armor 0279]
Mental Health - Outpatient Progress Note - December 2014 [Armor 0280 - Armor
0283]

Mental Health - Initial Evaluation [Armor 0287 - Armor 0291]

Mental Health - Initial Evaluation [Armor 1421-1424]

Nursing - Mental Health - Intake Screening - August 2016 [Armor 0072 - Armor
0074]

Progress Note - August 2016 (case manager) [Armor 0131]

Medical, Dental, and Mental Health Sick Calls forms [Armor 0048 - 0055]

Phone Orders - August 25, 2016 [Armor 0132]

Nursing - Special Needs Communication/Relocation - August 2016 [Armor 0134]
Tasks - Refusal of Withdrawal Monitoring [Armor 0315 - Armor 0320; Armor

329 - Armor 332; Armor 0335 - Armor 0336; Armor 0343 - Armor 0344]

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Progress Note - Late Entry - August 2016 [Armor 0358]

Chart Notes [Armor 0349 - Armor 0356]

Flow Sheets [Armor 1391-1407]

Refusal of Treatment

Refusal of Treatment - August 25, 2016 [Armor 0359]

Refusal of Treatment - April 14, 2015 [Armor 0373]

Refusal of Treatment - July 19, 2015 [Armor 0375]

Refusal of Treatment - March 31, 2015 [Armor 0393]

Refusal of Treatment - September 10, 2014 [Armor 0474]

Progress Note - August 28, 2016 [Armor 0358]

Medication Non-Compliance Counseling [Armor 0370 - Armor 0371]
Medication Records [Armor 0294 - Armor 0300]

Patient Medical History [Armor 0002, Armor 0004, Armor 0008, Armor 0012,
Armor 0014, Armor 0018, Armor 0020, Armor 0022, Armor 0024, Armor 0030,
Armor 0038, Armor 0040, Armor 0056 - Armor 0057, Armor 0059, Armor 0061,
Armor 0349, Armor 0352, Armor 1391 - Armor 1393, Armor 1397 - Armor 1398,
Armor 1403]

Tasks [Armor 0309-0311; Armor 0315-0316; Armor 0319-0320; Armor 0331-
0332]]|

Medication Sheet [Armor 0435-0436]

Medications Administered/Not Administered [Armor 0438]

Electronic Medical Record Summary - Milwaukee County [Armor 0508 - Armor
0523]

Correctional Health Services Report - Milwaukee County [Armor 0533 - Armor
0535]

Correctional Health Services Report - Milwaukee County [Armor 0637]
Correctional Health Services Report - Milwaukee County [Armor 0708]

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Correctional Health Services Report - Milwaukee County [Armor 0712]
Correctional Health Services Report - Milwaukee County [Armor 0757]

Correctional Health Services Report - Milwaukee County [Armor 0931}
Electronic Medical Record Summary - Milwaukee County [Armor 0508 - Armor

0523]

Correctional Health Services Report - Milwaukee County [Armor 0577 - Armor

0614]

Record of August 2016 Appointment Deletion [Armor 0334 - Armor 0335]
Meeting Minutes

Inmate Management Meeting 2/11/15 Minutes [Armor 1101-1104]

Meeting Minutes 5/13/15 [Armor 1117 - 1118]

Psych Meeting Minutes 6/8/16 [Armor 1161 - Armor 1163]

Armor Correctional Policies

Armor Correctional Policy No. J-A-10 [Armor 1454 - 1460]

Armor Correctional Policy No. J-A-10.1 [Armor 1461 - 1466]

Armor Correctional Policy No. J-E-02 - Receiving Screening [Armor 0956 -
Armor 0961]

Armor Correctional Policy No. J-E-04 - Initial Health Assessment [Armor 0962 -
Armor 965]

Armor Correctional Policy No, J-E-11 - Nursing Assessment Protocols [Armor
0966 - Armor 968]

Armor Correctional Policy No. J-E-12 - Continuity and Coordination of Care
During Incarceration [Armor 0969 - Armor 0972]

Armor Correctional Policy No, J-G-02 - Patients with Special Health Needs
[Armor 0973 - Armor 0975]

Armor Correctional Policy No. J-G-06 - Inmates with Alcohol or Other Drug
Problems [Armor 0976 - Armor 0977]

Armor Correctional Policy No. J-G-07 - Intoxication and Withdrawal [Armor
0978 - Armor 0982]

Armor Correctional Drug and Alcohol Intoxication/Withdrawal policy and
Management of Alcohol or Drug Withdrawal Risk flowchart [Armor 0983 -
Armor 0992]

Armor Correctional Policy No. J-I-05 - Informed Consent and Right to Refuse
[Armor 01830 - Armor 01832]

Armor Procedures for H.S.A. In the Event of Inmate Death [Armor 1460]
Search of Log Entries by Inmate Name [MC KAF001052 - MC KAF001258] and

Log Activity System - Milwaukee County [MC K AF000086 - MC KAF000093]

Supplementary Report [MC KAF000255 - MC KAF000269], Incident Report

[MC KAF000159 - MC KAF 000170], Inmate Death Timeline - Milwaukee County
[MC KAF000246 - MC KAF000250]

Armor Skills Passport 2016 [Armor 01663 - Armor 1737]
Colleen Andreoni - Expert Report and Curriculum Vitae
Thomas Fowlkes - Expert Report and Curriculum Vitae
William Gause - Expert Report and Curriculum Vitae
Michael Kaufman MD - Expert Report and Curriculum Vitae

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1031, John May MD - Deposition Transcript - February 5, 2019
1032. Brooke Shaikh - Deposition Transcript - December 18, 2018
1033. Mai Bruno - Deposition Transcript - February 6, 2019
1034. Karen Ronquillo-Horton MD - Deposition Transcript - November 27, 2018
1035. Kayla McCullough - Deposition Transcript - February 13, 2019
1036. Side effects of clonidine, buprenorphine, gabapentin, zofran, and bentyl
1037. Autopsy Report and Toxicology - [Armor [Fiebrink] 02208 - 02224]
1038, Confidential Death Summary Report - Blank
1039, Inmate Visiting Log [MC KAF003930 - 003932]
¢ August 27 - afternoon hours showing inmate activity in the day room
e August 27 - approximately 1700 forward showing inmate activity during supper

1040, CV of Jacob B. Smith, M.D.

1041, Probable Cause Statement and Judicial Determination as to Phebe Williams -
August 27, 2016

1042, Milwaukee County Sheriff's Office Criminal Justice Facility ADR Tracking Form
for Phebe Williams

1043, Phebe Williams Deposition Exhibit No. 106 - March 15, 2019

1044, U.S. Department of Justice Civil Rights Division Investigation of the Miami-Dade
County Jail - August 24, 2011

1045, Expert Report and CV of Jeffrey S. Carter - March 28, 2019

1046, Exhibit A to Declaration of Latisha Aikens - Jail Logs - March 8, 2019 (ECF No.
201-1)

1047, Jail Video -.Excerpts including and without limitation (MC KAF003606)

1048. Tasks — August, 2016 (armor 0304-0305)

1049, Milwaukee jail logs (MC KAF 0081-0084)

1050. Milwaukee jail Logs (MC KAF 0086-0093)

1051. Any and all documents received from other parties after the filing of this Exhibit
List.

1052. Any and all exhibits identified by other parties,
1053. Any and all exhibits necessary for rebuttal
The Defendants reserve the right to offer any of the exhibits listed by the Plaintiffs and to

amend this list based on evidence presented by the Plaintiffs.

Depositions.

The Parties reserve the right to revisit whether the reading in of portions of depositions

due to the unavailability of witness is necessary after a trial date is set.

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VI. Length of Trial,

The parties anticipate the trial will last 5-10 days.
VII. Proposed Voir Dire Questions.

Attached hereto as Ex. B are the parties’ joint proposed voir dire questions.

VIII. Brief Summary of Underlying Claims and Defenses.

Pursuant to the Trial Scheduling Order, the following summarizes the elements of the
parties’ respective claims and defenses.

To succeed on their Fourteenth or Eighth Amendment failure to provide medical care
claims against the Defendants, Plaintiffs must prove by the preponderance of the evidence that
the actions of the Defendants violated Fiebrink’ s constitutional rights.

To succeed on their Monel/ claims against Milwaukee County and Armor Correctional
Health Services, Inc, Plaintiffs must prove by a preponderance of the evidence that the
Defendants maintained unconstitutional policies and procedures, including failing to
appropriately train agents/employees which caused Fiebrink harm damages.

To succeed on their Negligence and Wrongful Death Claim against the Defendants, the
Plaintiffs must prove by a preponderance of the evidence that the Defendants were negligent, and
that negligence was a cause of Fiebrink’s, Robert Martinez’s, The Estate of Angelica Fiebrink’s,
and Jose Martinez’s damages.

IX. Joint Proposed Substantive Jury Instructions.

Attached hereto as Ex. C are the parties’ joint proposed substantive fury instructions with
indication as to whether the parties agree or disagree as to a particular instruction. All parties
reserve the right to revisit any issues associated with the jury instructions after this Court’s
decision on dispositive motions and at the close evidence.

X. Joint Proposed Verdict Form.

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Attached hereto as Ex. D is the Plaintiffs Proposed Verdict form. Attached hercto as Ex.
E is the City Defendants Proposed Verdict Form. All parties reserve the right to revisit, object to
and supplement any issues associated with the Verdict Form after this Court’s decision on

dispositive motions and at the close of evidence.

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